      Case 1:17-md-02800-TWT Document 1022 Filed 03/09/20 Page 1 of 7




                     UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION



                                         MDL Docket No. 2800
In re: Equifax Inc. Customer             No. 1:17-md-2800-TWT
Data Security Breach Litigation
                                         CONSUMER ACTIONS

                                         Chief Judge Thomas W. Thrash, Jr.


       PLAINTIFFS’ RESPONSE IN OPPOSITION TO OBJECTOR
          CHRISTOPHER ANDREWS’ MOTION TO STRIKE

      Objector Christopher Andrews has asked this Court to approve the pursuit of

his appeal at taxpayer expense. Now that Class Counsel have opposed that motion,

Mr. Andrews has asked that their opposition be stricken (Doc. 1016) because they

filed an amended certificate of service, noting that—in addition to serving “all

counsel of record” on February 24, 2020 (Doc. 998 at 24), Class Counsel sent a

copy to Mr. Andrews via U.S. Mail on February 26, 2020 (Doc. 1001). The

motion is procedurally improper because Plaintiffs’ opposition is not a pleading.

See, e.g., Polite v. Dougherty County School System, 314 Fed. App’x 180, 184 n. 7

(11th Cir. 2008) (“motions to strike are only appropriately addressed to matters

contained in the pleadings”); First Citizens Bank & Trust Co. v, Whitaker, 2018

WL 6362626, *1 (N.D. Ga. Aug. 22, 2018) (“It is the Court’s practice to only
      Case 1:17-md-02800-TWT Document 1022 Filed 03/09/20 Page 2 of 7




strike pleadings” as defined in Fed. R. Civ. 7); Order, In re Equifax, Inc. Customer

Data Security Breach Litig. (N.D. Ga. entered Dec. 31, 2019) (Doc. 951) (denying

motion to strike a declaration because it is not a pleading). Regardless, there is no

need to strike the opposition. Mr. Andrews received the opposition, filed a timely

reply, and thus has suffered no prejudice.1 Class Counsel thus respectfully request

that the Court deny Mr. Andrews’s latest frivolous motion.

Dated: March 9, 2020                   Respectfully submitted,

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 Mr. Andrews subsequently filed a Corrected Application to Appeal In Forma
Pauperis on February 28, 2020, with additional attachments added on March 2,
2020, under seal. (Doc. 1015)

                                         2
Case 1:17-md-02800-TWT Document 1022 Filed 03/09/20 Page 3 of 7




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                              3
Case 1:17-md-02800-TWT Document 1022 Filed 03/09/20 Page 4 of 7




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                              4
Case 1:17-md-02800-TWT Document 1022 Filed 03/09/20 Page 5 of 7




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                              5
      Case 1:17-md-02800-TWT Document 1022 Filed 03/09/20 Page 6 of 7




                     CERTIFICATE OF COMPLIANCE

      I hereby certify that this document has been prepared in compliance with

Local Rules 5.1 and 7.1.

                                          /s/ Amy E. Keller




                                      6
      Case 1:17-md-02800-TWT Document 1022 Filed 03/09/20 Page 7 of 7




                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was filed with this Court via its

CM/ECF service, which will send notification of such filing to all counsel of

record this 9th day of March 2020.

      I also certify that a copy of the foregoing was sent to Objector Christopher

Andrews via U.S. Mail to: P.O. Box 530394, Livonia, Michigan 48153-0934, this

9th day of March 2020.

                                       /s/ Amy E. Keller




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